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                     EXHIBIT “3”
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                                  IN THE TWELFTH JUDICIAL CIRCUIT COURT
                                   IN AND FOR SARASOTA COUNTY, FLORIDA

            MICHAEL T FLYNN,
                      Plaintiff,
                                                            CASE NO. 2023 CA 004264 NC
            v.
                                                                      DIVISION C CIRCUIT

            JIM STEWARTSON,
            RICK WILSON,
            MEIDASTOUCH LLC,
                       Defendant.
           _____________________________________


                                               ORDER
                              (1) GRANTING FINAL SUMMARY JUDGMENT
                                IN FAVOR OF DEFENDANT RICK WILSON;
                             (2) GRANTING IN PART AND DENYING IN PART
                         DEFENDANT STEWARTSON’S MOTION TO DISMISS; AND
                               (3) DIRECTING DEFENDANT STEWARTSON
                              TO ANSWER THE REMAINING ALLEGATIONS
                                 OF THE SECOND AMENDED COMPLAINT
                                    NOT DISMISSED OR STRICKENED

                  BEFORE THE COURT are (1) Defendant Wilson’s Motion to Dismiss or in the
           Alternative Motion for Summary Judgment Pursuant to Section 786.265, Florida Statutes [DIN
           63]; and (2) Defendant Jim Stewartson’s Motion to Dismiss Plaintiff’s Second Amended
           Complaint [DIN 62]. Plaintiff responded in opposition [DINs 69, 68, respectively]. The third
           defendant, Defendant MeidaTouch, has not been served. This Order does not adjudicate any
           matter with respect to that defendant.

                  The Court first discusses the Complaint and general law. The Court will then address
           each of the two individual Defendant’s motions separately.

                                          The Second Amended Complaint

                   The Second Amended Complaint purports to allege: (1) defamation and defamation per
           se against all three defendants in Count 1; and (2) injurious falsehood against all three defendants
           in Count 2 [DIN 59]. The Plaintiff identifies many separate allegations of defamation and then
           includes those allegations within a single defamation count and a single injurious falsehood
           count. The description below comes exclusively from the allegations of the Second Amended
           Complaint.




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                   Plaintiff is Lieutenant General Michael T. Flynn, retired (“General Flynn”) [DIN 59, p.1,
           ¶1]. He formerly served as the Director of the United States’ Defense Intelligence Agency [DIN
           59, p. 4, ¶18].

                   Defendant Jim Stewartson is a media and technology professional with thousands of
           followers across several social media platforms, host of his own podcast with paid subscriptions,
           and creator of “The Thinkin Project,” a purported anti-disinformation chat group (“Mr.
           Stewartson”) [DIN 59, pp. 1-2, 6 ¶¶1-4, 29]. According to General Flynn, Mr. Stewartson
           regularly defames General Flynn and other prominent conservative activists to Mr. Stewartson’s
           listeners and followers as a means for Mr. Stewartson to make a living for himself [DIN 59, pp.
           1-2, ¶¶1-5]. General Flynn contends Mr. Stewartson has made many defamatory statements
           concerning him, generally grouped into 14 separate categories [DIN 59, p. 8, ¶46]. General
           Flynn then enumerates multiple specific instances of defamation, which he contends is “non-
           comprehensive” [DIN 59, pp. 9-41, ¶¶49-96].

                  On October 22, 2023, Mr. Stewartson joined Defendant MeidaTouch Network, which
           hosts and republishes Mr. Stewartson’s shows and content [DIN 59, p. 2, ¶7]. Founded in May
           2010 by the Meiselas family, MeidaTouch operates a YouTube channel with 1.74 million
           subscribed and hosts fourteen left-wing political commentators [DIN 59, p. 7, ¶¶38-43]. General
           Flynn alleges that MediaTouch broadcast Mr. Stewartson’s defamatory comments. [DIN 59, pp.
           39-41, ¶¶92-96].

                   Defendant Rick Wilson is the founder of The Lincoln Project, which General Flynn
           characterizes as an anti-Republican group that spreads lies against conservative figures
           associated with former President Donald Trump [DIN 59, p. 2, ¶8]. General Flynn contends that
           Mr. Wilson defamed General Flynn in two regards: by calling him a “Putin employee” and
           calling him “Q.” [DIN 59, p. 3, ¶9].

                  Defendant MeidaTouch apparently has not yet been served.

                                                     ANALYSIS

                   Defendants Messrs. Stewartson and Wilson both have invoked section 768.295, Florida
           Statutes to dismiss the case under Florida’s anti-SLAPP statute, and, alternatively they seek to
           dismiss the case under Florida’s normal “four-corners” standard. Defendant Wilson further
           alternatively requests summary judgment in his favor. Defendant Stewartson did not move for
           summary judgment.

                  The Court first identifies the elements of the causes of action. The Court then addresses
           the application of Florida’s anti-SLAPP statute. Finally, the Court applies the governing law to
           each Defendant’s claims separately.

                                                         1.
                                                    The Elements




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                    In Florida, a defamation claim by a public figure has five elements: “(1) publication; (2)
           falsity; (3) actor must act with knowledge or reckless disregard as to the falsity on a matter
           concerning a public official, or at least negligently on a matter concerning a private person; (4)
           actual damages; and (5) statement must be defamatory.” Kieffer v. Atheists of Florida, Inc., 269
           So. 3d 656, 659 (Fla. 2d DCA 2019), quotingJews For Jesus, Inc. v. Rapp, 997 So. 2d 1098,
           1106 (Fla. 2008).

                   Plaintiff also asserts a claim for injurious falsehood, which has five elements: “(1) A
           falsehood (2) has been published, or communicated to a third person (3) when the defendant-
           publisher knows or reasonably should know that it will likely result in inducing others not to deal
           with the plaintiff and (4) in fact, the falsehood does play a material and substantial part in
           inducing others not to deal with the plaintiff; and (5) special damages are proximately caused as
           a result of the published falsehood.” Bothmann v. Harrington, 458 So. 2d 1163, 1168 (Fla. 3d
           DCA 1984).

                   “The gist of the tort of injurious falsehood is the intentional interference with another's
           economic relations.” Salit v. Ruden, McClosky, Smith, Schuster & Russell, P.A., 742 So. 2d
           381, 386 (Fla. 4th DCA 1999). Injurious falsehood is a group of torts interchangeably called
           slander of title, disparagement of property, or trade libel. Each defense available to a defamation
           claim is equally available in an injurious falsehood claim. Sailboat Key, Inc. v. Gardner, 378 So.
           2d 47, 49 (Fla. 3d DCA 1979) quoting W. Prosser, Law of Torts (4th Ed. 1971, s 114 at 777-778)
           (This tort “never has been greatly favored by the law,” and is subject to “to all privileges
           recognized both in cases of personal defamation and in those of other types of interference with
           economic advantage.”); seeCollier County Pub. Co., Inc. v. Chapman, 318 So. 2d 492, 494 (Fla.
           2d DCA 1975) (citing Prosser for injurious falsehood).

                  Overlaying both defamation and injurious falsehood is the requirement for actual malice.
           General Flynn candidly concedes that he is a “public figure” for defamation analysis [DIN 68, p.
           10; DIN 69 p. 8]. There can be no dispute that the United States Supreme Court in New York
           Times v. Sullivan, 376 U.S. 254 (1964), directed that a public figure defamation plaintiff must
           demonstrate actual malice to overcome the protections of the First Amendment. Mastandrea v.
           Snow, 333 So. 3d 326, 328 (Fla. 1st DCA 2022). Actual malice is defined as “as knowing the
           statements were false at the time they were made or making the statements with a reckless
           disregard of the truth. Id. at 327-328; Readon v. WPLG, LLC, 317 So. 3d 1229, 1235 (Fla. 3d
           DCA 2021). Actual malice must be shown by clear and convincing evidence. Dockery v. Florida
           Democratic Party, 799 So. 2d 291, 294 (Fla. 2d DCA 2001).

                   The Court is aware there is criticism of this “almost impossible” burden as being a
           judicial policy decision instead of an appropriate application of constitutional law. E.g.,
           Mastandrea, 333 So. 3d at 328-334 (B.L. Thomas, J., concurring). The Court need not wade into
           that discussion, though, as New York Times remains good law and the Court is required to
           follow it.

                                                         2.
                                               The Anti-SLAPP Statute



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                   The Florida Legislature, as a matter of public policy, prohibits what it calls “Strategic
           Lawsuits Against Public Participation,” or “SLAPP.” § 768.295, Fla. Stat. That statute explains
           state policy in relevant part as follows:

                          It is the intent of the Legislature to protect the right in Florida to exercise
                          the rights of free speech in connection with public issues . . . as protected
                          by the First Amendment to the United States Constitution and s. 5, Art. I
                          of the State Constitution. It is the public policy of this state that a person
                          or governmental entity not engage in SLAPP suits because such actions
                          are inconsistent with the right of persons to exercise such constitutional
                          rights of free speech in connection with public issues. Therefore, the
                          Legislature finds and declares that prohibiting such lawsuits as herein
                          described will preserve this fundamental state policy [and] preserve the
                          constitutional rights of persons in Florida . . . . It is the intent of the
                          Legislature that such lawsuits be expeditiously disposed of by the courts.

           § 768.295(1), Fla. Stat.

                  In addition to stating public policy, the Legislature specifically prohibited SLAPP suits:

                          A person or governmental entity in this state may not file or cause to be
                          filed, through its employees or agents, any lawsuit, cause of action, claim,
                          cross-claim, or counterclaim against another person or entity without merit
                          and primarily because such person or entity has exercised the
                          constitutional right of free speech in connection with a public issue, or
                          right to peacefully assemble, to instruct representatives of government, or
                          to petition for redress of grievances before the various governmental
                          entities of this state, as protected by the First Amendment to the United
                          States Constitution and s. 5, Art. I of the State Constitution.

           § 768.295(3), Fla. Stat.

                   The Legislature directed an “expeditious resolution” of a claimed SLAPP suit “at the
           earliest possible time” with specific procedures identified in the statute. § 768.295(4), Fla. Stat.

                  “Free speech in connection with public issues” is a legislatively defined expression and it
           “means any written or oral statement that is protected under applicable law and is made before a
           governmental entity in connection with an issue under consideration or review by a
           governmental entity, or is made in or in connection with a play, movie, television program, radio
           broadcast, audiovisual work, book, magazine article, musical work, news report, or other similar
           work.” § 768.295(2)(a), Fla. Stat.

                   The Second District has made clear that a trial court can consider a claimed violation of
           the anti-SLAPP statute under alternate theories of a motion to dismiss or summary judgment
           brought in a single motion. Gundel v. AV Homes, Inc., 264 So. 3d 304 (Fla. 2019).



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                   The Gundel court explained the statutory procedure places the “initial burden on the
           SLAPP defendant to set forth a prima facie case that the Anti-SLAPP statute applies” and, once
           done, the burden shifts “to the claimant to demonstrate that the claims are not ‘primarily’ based
           on First Amendment rights in connection with a public issue and not ‘without merit[.]” Gundel,
           264 So. 3d at 314. As Gundel made clear, and reiterated in Baird v. Mason Classical Academy,
           Inc., 317 So. 3d 264, 268 (Fla. 2d DCA 2021); and Davis v. Mishiyev, 339 So. 3d 449, 452-453
           (Fla. 2d DCA 2022), the trial court must apply the statutory test to motion to dismiss, not the
           “normal” motion to dismiss four-corners’ standard. In fact, the trial court errs if it applies the
           traditional four-corners review to determine if the complaint states a cause of action. Gundel, 264
           So. 3d at 314; Baird, 371 So. 3d at 268; and Davis, 339 So. 3d at 453.

                    The Court understands other Florida district courts disagree with the Second District’s
           approach. Lam v. Univision Communications, Inc., 329 So. 3d 2021 (Fla. 3d DCA 2021)
           (certified conflict with Gundel on appropriateness of heightened burden); Johnson v. Fischer,
           369 So. 3d 354 (Fla. 5th DCA 2023) (certified conflict with Gundel on appropriateness of
           certiorari review); and WPB Residents for Integrity in Government, Inc. v. Materio, 284 So. 3d
           555 (Fla. 4th DCA 2019) (certified conflict with Gundel on the same basis as Materio). And the
           Court observes that General Flynn correctly acknowledged Gundel but then argued Gundel did
           not obviate the regular motion to dismiss standard and the statements in Gundel are dicta [DIN
           68, pp. 2-6; DIN 69, pp. 3-6]. The Court declines General Flynn’s invitation to view the holdings
           in Gundel, Baird, and Davis as dicta. The Court is within the Second District’s territorial
           boundary, and the Court will apply the Second District’s precedent. Pardo v. State, 596 So. 2d
           665, 666-667 (Fla. 1992) (where there is interdistrict conflict, trial court must apply its district
           court’s holding).

                   Finally, with respect to the anti-SLAPP statute, the Court is mindful of the Second
           District’s remarks concerning jumbling the analysis of motions to dismiss and summary
           judgments in the context of anti-SLAPP claims. McQueen v. Baskin, 2023 WL 7929535, *4
           (Fla. 2d DCA Nov. 17, 2023) (identifying concern of a “unitary motion that asserted both rules
           without delineating which arguments were for dismissal and which were for summary
           judgment). The Court will (attempt to) be clear as to what and how it considered the arguments
           and on what basis or bases the Court rules.

                                                          3.
                                                 Mr. Wilson’s Motion

                  Mr. Wilson filed a motion to dismiss and alternative motion for summary judgment. The
           Court resolves Mr. Wilson’s motion on the basis of his alternative summary judgment motion.

                   Mr. Wilson executed an affidavit as well as sought judicial notice of numerous articles,
           editorials, court opinions, court filings, General Flynn’s presidential pardon, wire reports,
           declassified intelligence assessments, and various social media posts [DINs 63, 64]. The Court
           accepts judicial notice of the existence of, and contents of, the items requested by Mr. Wilson.
           The Court also notes General Flynn waived the 40-day requirement for summary judgment
           evidence [DINs 73, 74]. General Flynn did not provide any rebuttal evidence.



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                   General Flynn’s two isolated complaints with Mr. Wilson in the Second Amended
           Complaint pale in comparison to the myriad of complaints General Flynn raised concerning Mr.
           Stewartson’s numerous comments. And the Court is aware of Mr. Stewartson’s concern that Mr.
           Wilson was improperly joined to defeat federal court jurisdiction. The Court does not concern
           itself with the Plaintiff’s decision in the original complaint (but not included in subsequent
           complaints) to voluntarily limit damages or in Plaintiff’s choice of Defendants. The Court is
           competent to address the merits of this case just like a federal court sitting in diversity. Whether
           a Defendant removes a case to federal court or not is outside this Court’s province. The Court
           will adjudicate the case before it for however long the Court has jurisdiction to do so.

                   Had Mr. Wilson remained a party to this lawsuit, though, the Court would have strongly
           considered severing General Flynn’s claims against Mr. Wilson from those of Mr. Stewartson
           given the substantial disparity in breadth and number of allegations. SeeAlanco v. Brystrom, 544
           So. 2d 217, 218 (Fla. 3d DCA 1989) (under Florida Rule of Civil Procedure 1.250(a), misjoinder
           is not a ground for dismissal; rather, severance would be appropriate). Because the Court is
           terminating Mr. Wilson’s involvement in this lawsuit, the Court need not determine, finally, the
           question of severance.

                  The two statements General Flynn points to in his Second Amended Complaint made by
           Mr. Wilson are: (1) a post calling General Flynn a Putin employee; and (2) a retweet that General
           Flynn is Q. The Court addresses each.

                    First, General Flynn complains about a February 24, 2022, post by Mr. Wilson that reads
           in its entirety: “Putin employee Mike Flynn[.]” [DIN 59, p. 22, ¶67]. The Russian Federation
           invaded Ukraine on February 22, 2022. [DIN 63, p. 50, Mr. Wilson Aff. p. 2, ¶9].

                   As General Flynn set forth in his Second Amended Complaint, Mr. Wilson’s “Putin
           employee Mike Flynn” comment was to another person’s comment that commented on General
           Flynn’s publicly posted letter dated February 24, 2022. General Flynn in his original letter—
           which is included in the Second Amended Complaint—publicly denounced Russia’s invasion
           into Ukraine but suggested there were policy failures by the President of the United States and
           his Administration’s foreign policy that encouraged Russia’s aggression. General Flynn observed
           “we continue to demonize Russia” and explained “President Putin calculated this strategic,
           historic, and geographic play and made the decision to move, and he did.”

                   Mr. Wilson in his materials pointed to news accounts that in December 2015, the Russian
           Federation’s state sponsored television network RT paid General Flynn $45,000 plus expenses
           for General Flynn to speak at RT’s 10th anniversary gala in Moscow. A photo from that event
           depicts General Flynn seated next to Russian President Vladimir Putin. Thirteen months later,
           President Trump appointed General Flynn as the U.S. National Security Advisor.

                  Second, General Flynn points to Mr. Wilson’s May 14, 2023, retweet by Mr. Stewartson,
           which original tweet included the statement: “Also, FYI, Mike Flynn is ‘Q’.” [DIN 59, p. 37,
           ¶87]. Mr. Stewartson’s original tweet included either a screenshot of, or link to, Mr. Wilson’s
           appearance on an MSNBC show that seemingly included a reference to General Flynn, although
           the TV show’s context is not clear from Mr. Stewartson’s post. Mr. Stewartson identified a story


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           Mr. Stewartson ran concerning General Flynn. Mr. Stewartson then included the purported
           defamatory comment: “FYI, Mike Flynn is ‘Q’.”

                    General Flynn suggests by calling him “Q” is the same as saying that he is the leader of
           QAnon, which General Flynn implies that it is designed to subject him to ridicule. The Court will
           accept for this motion the construction that “Q” denotes leadership in the QAnon movement, and
           it has a negative connotation. The Court, therefore, for this motion will not consider “Q” to mean
           something like “Q” the Quartermaster from the James Bond movie franchise, or like “Q” from
           Star Trek: The Next Generation, who was a nearly omnipotent person (and species) capable of
           altering time, space, and reality. In his materials, Mr. Wilson pointed to several articles
           concerning QAnon, generally, and General Flynn’s potential association with it, specifically.

                   Under the anti-SLAPP statute, Mr. Wilson had the initial burden of demonstrating a
           prima facie case that the statute applies. And he did. Mr. Wilson easily demonstrated substantial
           national discussion concerning the Russian Federation, Vladmir Putin, QAnon, and General
           Flynn’s interactions or presumed interactions with them. These are public issues of the highest
           order that the First Amendment is designed to protect, and the dialogue back-and-forth
           implicates free speech. Because Mr. Wilson made his required initial showing, it became
           incumbent on General Flynn to “to demonstrate that the claims are not ‘primarily’ based on First
           Amendment rights in connection with a public issue and not ‘without merit.’” Gundel, 264 So.
           3d at 314.

                  General Flynn has not done so with respect to Mr. Wilson.

                   General Flynn contends that the primary purpose of his lawsuit against Mr. Wilson “is to
           seek compensation for Defendant’s harmful and malicious lies about General Flynn, an
           American hero who served this country for 33 years.” [DIN 69, p. 7]. There was no affidavit
           supporting the attorney’s assertion, as would be permitted by both section 768.295(4) (“The
           claimant . . . shall thereafter shall file a response and any supplemental affidavits.”), and rule
           1.510(c)(4). An attorney’s assertion is not evidence. E.g.Hitt v. Homes & Land Brokers, Inc.,
           993 So. 2d 1162, 1166 (Fla. 2d DCA 2008) (attorney’s unsworn statements do not establish facts
           in the absence of stipulation, and trial judges cannot rely on them for the basis of factual
           determinations). This basis alone is sufficient to conclude General Flynn did not meet his burden.

                   Additionally, the Court notes that the Second Amended Complaint seeks both damages
           and injunctive relief [DIN 59, p. 58]. Seeking to restrain speech at its core is antithetical to the
           First Amendment. And it undercuts a claim that the primary purpose is to seek damages; it
           suggests the purpose is to silence speech.

                  Further, General Flynn did nothing to establish that Mr. Wilson’s speech was “not
           without merit” or otherwise not entitled to protection. General Flynn in his Second Amended
           Complaint contended that Mr. Wilson’s four-word post and one retweet was designed “to drive
           viewers and donations to his political groups, such as The Lincoln Project” that raised over $87
           million through donations. [DIN 59, p. 42, ¶¶106-107]. While that conclusion does not
           reasonably follow from the two isolated posts, even if it did, the absence of any proof is fatal to
           General Flynn’s burden under the anti-SLAPP statute. The Court would have assumed General


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           Flynn would explain or deny the content of the numerous media stories from which Mr. Wilson
           was able to make the statements he did. But he did not.

                  Mr. Wilson is entitled to summary judgment under the anti-SLAPP statute. And the Court
           resolves Mr. Wilson’s motion primarily on that basis.

                   Even in the absence of the anti-SLAPP statute, though, Mr. Wilson would still be entitled
           to summary judgement under the traditional standard because Mr. Wilson demonstrated an
           entitlement to summary judgment and General Flynn failed to demonstrate the existence of a
           disputed material issue of fact. Florida has a new summary judgment statement, and in moving
           towards the federal summary judgment standard, the Florida Supreme Court made three
           overarching points:

                                   First, those applying new rule 1.510 must recognize the
                         fundamental similarity between the summary judgment standard
                         and the directed verdict standard. Both standards focus on whether
                         the evidence presents a sufficient disagreement to require
                         submission to a jury. And under both standards the substantive
                         evidentiary burden of proof that the respective parties must meet at
                         trial is the only touchstone that accurately measures whether a
                         genuine issue of material fact exists to be tried.

                                 Second, those applying new rule 1.510 must recognize that
                         a moving party that does not bear the burden of persuasion at trial
                         can obtain summary judgment without disproving the nonmovant's
                         case. Under Celotex [Corp. v Catrett, 477 U.S. 317 (1986)] and
                         therefore the new rule, such a movant can satisfy its initial burden
                         of production in either of two ways: If the nonmoving party must
                         prove X to prevail at trial, the moving party at summary judgment
                         can either produce evidence that X is not so or point out that the
                         nonmoving party lacks the evidence to prove X. A movant for
                         summary judgment need not set forth evidence when the
                         nonmovant bears the burden of persuasion at trial.

                                  And third, those applying new rule 1.510 must recognize
                         that the correct test for the existence of a genuine factual dispute is
                         whether the evidence is such that a reasonable jury could return a
                         verdict for the nonmoving party. Under our new rule, when
                         opposing parties tell two different stories, one of which is blatantly
                         contradicted by the record, so that no reasonable jury could believe
                         it, a court should not adopt that version of the facts for purposes of
                         ruling on a motion for summary judgment. In Florida it will no
                         longer be plausible to maintain that the existence of any competent
                         evidence creating an issue of fact, however credible or incredible,
                         substantial or trivial, stops the inquiry and precludes summary
                         judgment, so long as the slightest doubt is raised.


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           In re Amendments to Florida Rule of Civil Procedure 1.510, 317 So. 3d 72, 75–76 (Fla. 2021)
           (internal citations, parentheticals, and quotations omitted).

                    Here, Mr. Wilson came forward with evidence demonstrating a factual basis from which
           he made the “Putin employee” and “Q” comments. Perhaps General Flynn does not receive a w-
           2 from Vladmir Putin, but he did receive payment from a Russian Federation-controlled entity.
           The “gist” and “sting” of the comment is not substantially untrue. Kieffer, 369 So. 3d at 659.
           Perhaps General Flynn is not the mysterious “Q”, but numerous news articles tie a close link
           between he and the QAnon movement. Mr. Wilson’s retweet of Mr. Stewartson’s original tweet,
           at least as it relates to the comment, “FYI, Mike Flynn is ‘Q’.” is unactionable rhetorical
           hyperbole.

                    At bottom, Mr. Wilson demonstrated that both the falsity element and the acting on the
           falsity element cannot be met by General Flynn at trial. Having done so, General Flynn was
           required to come forward with evidence to dispute those elements. Mr. Wilson’s comments may
           not have been polite or fair. The First Amendment, though, does not require either politeness or
           fairness. Pullum v. Johnson, 647 So 2d 254, 258 (Fla. 1st DCA 1994).

                  Alternatively, Mr. Wilson is entitled to final summary judgment without resort to the
           anti-SLAPP statute.

                                                        4.
                                              Mr. Stewartson’s Motion

                   Mr. Stewartson filed a motion to dismiss. He included numerous news accounts, opinions
           pieces, an Eventbrite invitation, several of General Flynn’s tweets, as well as General Flynn’s
           March 10, 2022, deposition taken by a congressional committee. Mr. Flynn did not add any
           materials beyond those contained in his Second Amended Complaint.

                   The Court acknowledges that the Court could not grant the motion to dismiss as to Count
           1 (defamation) by applying the traditional “four-corners” motion to dismiss standard. Count 2
           (injurious falsehood), is a different story, as Plaintiff did not allege any special damages
           proximately caused by the published falsehood. That omission is fatal to Count 2.

                  Mr. Stewartson’s motion to dismiss is not judged under the normal four-corners
           construct. The Court must apply the statutory anti-SLAPP test as outlined in Gundel. As
           explained above, the Court must do more than simply evaluate the four corners of the Second
           Amended Complaint.

                   General Flynn at paragraph 46 of his Second Amended Complaint outlines 14 categories
           that are allegedly defamatory. He then in paragraphs 50-66, 68-89, 92-96, catalogue the specific
           statements. The Court has gone through the allegations as well as Mr. Stewartson’s motion and
           cited materials.




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                    Based on that review, the Court concludes that Defendant Stewartson made the required
           initial showing under the anti-SLAPP statute as construed by Gundel with respect to most, but
           not all, of the allegations. General Flynn did not present any counterevidence, and he otherwise
           failed to meet his burden. Thus, the following allegations must be dismissed and stricken from
           General Flynn’s claim against Defendant Stewartson: 46a, 46b, 46c, 46d, 46e, 46f, 46g, 46h,
           46k, 46m, 50, 51, 52, 53, 54, 55, 56, 57, 59, 60, 61, 62, 63, 64, 66, 68, 69, 70, 71, 72, 73, 74, 75,
           76, 77, 78, 79, 80, 81, 82, 85, 87, 88, 89, 92, 93, 94, 95, and 96.

                   There were four allegations, though, that Mr. Stewartson failed to make a prima facie
           showing that his comments constitute “free speech in connection with public issues.” Without
           making that initial showing, the burden outlined in Gundel never shifted to General Flynn. As
           such, those four allegations remain in General Flynn’s defamation Count 1 against Mr.
           Stewartson:

                  ►       46i – General Flynn is a “Nazi” (¶58);

                  ►       46j – General Flynn “wants a second Holocaust” (¶65);

                  ►       46l – General Flynn “torture[d] prisoners” (¶83); and

                  ►       46n – General Flynn “literally tried to murder Mike Pence” (¶84).

                   “The character of these statements, if they are false, would be quintessentially
           defamatory.” McQueen v. Baskin, 2023 WL 7929535 (Fla. 2d DCA Nov. 17, 2023)
           citingRichard v. Gray, 62 So. 2d 597, 598 (Fla. 1953) (describing situations where a publication
           is defamatory per se). The first two statements tend to subject General Flynn to disgrace. The
           third and fourth tend to state General Flynn committed an infamous crime.

                    With respect to the first two, Mr. Stewartson purportedly stated that General Flynn “is a
           Nazi” (¶58) and that he “wants a second Holocaust. Truly.” (¶65) The Court is aware of Judge
           Singhal’s decision in Trump v. Cable News Network, Inc., 2023 WL 4845589 (S.D. Fla. Jul. 28,
           2023), in which the court dismissed a defamation claim involving statements made on CNN by a
           CNN commentator about President Trump’s purported “Big Lie” concerning election
           interference. In that case, President Trump contended references to “Big Lie” suggested that
           President Trump was like the Third Reich’s Joseph Goebbels, who professed the sentiment: “If
           you tell a lie big enough and keep repeating it, people will eventually come to believe it.”
           President Trump argued that this means that voters would think of President Trump as “Hitler-
           like in any future political role.” In dismissing the lawsuit, the court concluded the Big Lie
           statements in the context made on the CNN show were statements of opinion, not fact, which is
           not actionable.

                   In the current case, Mr. Stewartson is not using an analogy like the CNN employees did
           in Trump. Instead, Mr. Stewartson appears to be stating a fact—that General Flynn is a Nazi and
           that he wants to systematically eradicate an entire race of people based on their religious beliefs.
           Without further context, Mr. Stewartson’s two comments cannot be conclusively determined to
           be statements of opinions (including rhetorical hyperbole) instead of statements of fact. If the


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           former, a defamation claim cannot lie. If the later, however, the Court can potentially see a
           construction of these statements that could support a finding that they were made with actual
           malice.

                  Mr. Stewartson had the initial burden under Gundel to show that application of the anti-
           SLAPP statute. At present, he has not demonstrated these comments qualify as free speech in
           connection with a public issue or is otherwise protected speech. Thus, the character of these two
           comments cannot be resolved on the motion to dismiss.

                    Two last two comments suggest General Flynn committed infamous crimes. The first one
           was “Mike Flynn employed Jack Posobiec to torture prisoners in Guantanamo while Flynn was
           head of @Defenseintel.” (¶83). The Court did not find any information in Mr. Stewartson’s
           motion to dismiss that provided any context for this comment. As it was Mr. Stewartson’s initial
           burden, the failure to present any information results in the conclusion that he failed to make his
           initial showing as to the applicability of the anti-SLAPP statute to this defamation claim.

                   The second comment was “Mike Flynn literally tried to murder Mike Pence with Qanon.”
           (¶84). Effectively, this comment states General Flynn attempted to commit first degree murder
           by attempting to assassinate the sitting Vice President of the United States. The Court cannot
           understand how that is rhetorical hyperbole and not a statement of fact. The Court is aware from
           the materials Mr. Stewartson supplied that General Flynn took the Fifth Amendment on several
           questions asked by the Select Committee concerning the January 6, 2021, events at the Capitol.
           At this stage of the litigation, the Court concludes that the submitted materials—while discussing
           January 6 generally—are insufficient to demonstrate a prima facia basis that the anti-SLAPP
           statute applies to a claim of defamation that General Flynn literally tried to murder the Vice
           President.


                  IT IS THEREFORE ORDERED AND ADJUDGED:

                  1.      Defendant Wilson’s Motion to Dismiss or in the Alternative Motion for Summary
                          Judgment Pursuant to Section 786.265, Florida Statutes [DIN 63] is granted. The
                          Court grants Mr. Wilson’s motion both under the anti-SLAPP procedure
                          established by section 786.265 as well as the “normal” summary judgment
                          procedure under rule 1.510.

                  2.      Plaintiff Michael T. Flynn shall take nothing by his action against Defendant
                          RICK WILSON. Defendant RICK WILSON shall go hence without day. The
                          Court reserves jurisdiction to award attorney fees or costs or both, if any, upon a
                          timely motion.

                  3.      Defendant Jim Stewartson’s Motion to Dismiss Plaintiff’s Second Amended
                          Complaint [DIN 62] is granted in part and denied in part.

                  4.      The Court dismisses Count 2 of the Second Amended Complaint in its entirety
                          based on General Flynn’s failure to allege special damages. This dismissal is


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                         under the normal four-corners analysis. As injurious falsehood seeks damages for
                         damage to property, the Court concludes that allowing amendment would be futile
                         as the allegations here are more traditionally considered defamation. For that
                         reason, the Count 2 dismissal is with prejudice with no leave to amend.

                  5.     The Court dismisses that portion of Count 1 of the Second Amended Complaint
                         based on, and otherwise strikes, the following allegations: 46a, 46b, 46c, 46d,
                         46e, 46f, 46g, 46h, 46k, 46m, 50, 51, 52, 53, 54, 55, 56, 57, 59, 60, 61, 62, 63, 64,
                         66, 68, 69, 70, 71, 72, 73, 74, 75, 76, 77, 78, 79, 80, 81, 82, 85, 87, 88, 89, 92, 93,
                         94, 95, and 96. The dismissal and striking of these allegations is required by the
                         anti-SLAPP statute as construed by Gundel and its progeny.

                  6.     The Court denies that portion of Count 1 of the Second Amended Complaint
                         based on the following allegations: 46i, 46j, 46l, 46n, 58, 65, 83, and 84.

                  7.     Defendant Stewartson shall answer the remaining allegations of the Second
                         Amended Complaint within 20 days of the date of this Order.

                  8.     Nothing in this ruling impacts the status of Defendant MeidasTouch, LLC.


                  DONE AND ORDERED in Sarasota, Sarasota County, Florida, on January 30, 2024.




                                                                                   HUNTER W CARROLL
                                                                                           Circuit Judge


                                             SERVICE CERTIFICATE

                   On January 30, 2024, the Court caused the foregoing document to be served via the Clerk
           of Court’s case management system, which served the following individuals via email (where
           indicated). On the same date, the Court also served a copy of the foregoing document via First
           Class U.S. Mail on the individuals who do not have an email address on file with the Clerk of
           Court.


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